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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 17-20608-CIV-JAL

   ARWIN NICOLAS ZAPATA CARRERO and )
   all others similarly situated under 29 U.S.C. )
   216(b),                                       )
                                                 )
                     Plaintiffs,                 )
           vs.                                   )
                                                 )
   SANABI INVESTMENTS LLC d/b/a                  )
   OSCAR’S MOVING & STORAGE,                     )
   SAADY BIJANI a/k/a SANDY BIJANI,              )
   HANIN PRIETO,                                 )
                                                 )
                    Defendants.                  )
   _____________________________________ )

                           PLAINTIFF’S OMNIBUS MOTION IN LIMINE

          COMES NOW the Plaintiff, by and through undersigned counsel, and pursuant to the

   Federal Rules of Civil Procedure, and files the above-described Plaintiff’s Omnibus Motion in

   Limine and states as follows in support thereof:

          1. Plaintiff moves in limine to exclude reference or introduction of the following five (5)

              issues:

                  a) Reference to attorneys’ fees and costs;

                  b) Reference to liquidated damages;

                  c) Reference to the undersigned Firm’s representation of Plaintiff;

                  d) Any reference to Plaintiff's payment or non-payment of federal income taxes

                        and reporting of cash payments on said taxes;

                  e) Reference to Plaintiff’s arrests, convictions, pleas of no lo contendere, and

                        pending criminal cases, if any; and



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                                      MEMORANDUM OF LAW

            Courts have the inherent ability to “to manage the course of [their] trials,” including the

   granting of motions in limine when appropriate. Luce v. United States, 469 U.S. 38, 41 (1984).

   The purpose of a motion in limine is “to give the trial judge notice of a movant’s position so as to

   avoid the introduction of damaging evidence, which may irretrievably affect the fairness of a

   trial.” E.g., Fagundez v. Louisville Ladder, Inc., 2012 WL 253214, at *1 (S.D. Fla. Jan. 26,

   2012).

            A. Reference to Attorneys’ Fees and Costs.

            Any reference to attorneys’ fees and costs at Trial should be excluded. Plaintiff,

   therefore, respectfully requests an Order excluding said references. Thus, any reference to

   attorney fees and costs pursuant to 29 U.S.C. 216(b) or otherwise should be excluded under Rule

   403 of the Federal Rules of Evidence as any potential probative value is substantially outweighed

   by the danger of unfair prejudice and confusion of the issues in this FLSA matter. The issue of

   attorney fees and costs are matters decided by the Court post trial and not by the jury and would

   be irrelevant and prejudicial as it would cause confusion and take the focus off of the merits of

   the case. Attorneys’ fees and costs have no probative value and would not benefit the jury’s role

   in this matter. As such, any reference to attorney fees and costs at trial should be excluded.

   Defendants object to this request.

            Wherefore, Plaintiff respectfully requests that the Court grant Plaintiff’s Motion in

   Limine and exclude any reference to attorneys’ fees and costs at trial.

            B. Reference To Liquidated Damages.

            Any reference to liquidated damages should be excluded at Trial. The FLSA makes

   doubling of a wage award mandatory under the Statute absent a showing of good faith. See,



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   Joiner v. Macon, 814 F.2d 1537, 1539 (11th Cir. 1987). See also, Reeves v. International Tel. &

   Tel. Corp., 616 F.2d 1342 (5th Cir. 1980). However, such issue of doubling is determined by the

   Court post-trial (as is the case with attorneys’ fees if Plaintiff prevails). Because liquidated

   damages are determined by the Court post-trial, the jury has no need to hear about them. The

   issue of liquidated damages would thus confuse the jury as they have no need (with respect to the

   damages sought under the FLSA) to hear about figures that double the wages claimed, and such

   is irrelevant. Defendants object to this request.

          Wherefore, Plaintiff respectfully requests that the Court grant Plaintiff’s Motion in

   Limine and exclude any reference to liquidated damages at trial.

          C. Reference to Undersigned Firm’s Representation of Plaintiff.

          Any reference to issues concerning the undersigned Firm’s representation of Plaintiff,

   how Plaintiff obtained same, fee/retainer agreement, or otherwise should be excluded under Rule

   403 of the Federal Rules of Evidence as its probative value is substantially outweighed by the

   danger of unfair prejudice and would not benefit the jury’s role in this matter. As a general

   matter, the Court should exclude evidence or references where the probative value is

   substantially outweighed by the prospect of prejudice. Zenith Radio Corp. v. Matsushita Elec.

   Indus. Co., 505 F. Supp 1125, 1146 (E.D. Pa. 1980), aff’d in part, 723 F.2d 238 (3rd Cir. 1983),

   rev’d on other grounds, 475 U.S. 574 (1986). See, Fed. R. Evid. Rule 403. The Jury has no

   need to hear issues concerning the undersigned Firm’s representation of Plaintiff, how Plaintiff

   obtained same, or otherwise, because such issues would likewise only serve to prejudice the jury,

   and testimony regarding same would be irrelevant and prejudicial as it would cause confusion

   and take the focus off of the merits of the case. Defendants object to the relief sought.




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           Wherefore, Plaintiff respectfully requests that the Court grant Plaintiff’s Motion in

   Limine and exclude reference to issues concerning the undersigned Firm’s representation of

   Plaintiff, how Plaintiff obtained same, fee/retainer agreement, or otherwise.

           D. Reference to Plaintiff’s Taxes.

           Any reference to Plaintiff's payment or non-payment of federal income taxes and

   reporting of cash payments on said taxes should be excluded under Rule 403 of the Federal Rules

   of Evidence as its probative value is substantially outweighed by the danger of unfair prejudice

   and confusion of the issues.

           Here, the “Plaintiff's wrongdoing—failing to pay federal income taxes on wages already

   earned—is in no way connected with the Defendants' alleged failure to properly compensate

   Plaintiff.” Solano v. A Navas Party Produc., Inc., 728 F. Supp. 2d 1334, 1339–40 (S.D. Fla.

   2010) (Altonaga, J.) (rejecting in pari delicto defense); see also Martinez–Pinillos v. Air Flow

   Filters, Inc., 738 F. Supp. 2d 1268, 1276 n.8 (S.D. Fla. 2010) (Martinez, J.); Barrera v. Weiss &

   Woolrich S. Enters. Inc., No. 09–cv–21841, ECF No. 131 at *4 (S.D. Fla. Jan. 25, 2010)

   (Graham, J.) (noting “[t]here is no case law supporting Defendants' argument that Plaintiffs'

   failure to pay federal income taxes requires summary judgment”). Some courts have allowed

   defendants to inquire about a plaintiff’s failure to pay income taxes to attack the plaintiff’s

   credibility under Federal Rule of Evidence 608(b). See Rakip v. Paradise Awnings Corp., 2011

   WL 6029981, at *3 (S.D. Fla. Nov. 30, 2011) (Cooke, J.); Barrera, No. 09–cv–21841, ECF No.

   291 at *4 (S.D. Fla. Jan. 26, 2011) (Graham, J.); Palma v. Safe Hurricane Shutters, Inc., 2011

   WL 6030073, at *1 (S.D. Fla. Oct. 24, 2011) (Simonton, Mag. J.); Chamblee v. Harris & Harris,

   Inc., 154 F. Supp. 2d 670, 681 (S.D.N.Y. 2001) (“Evidence that a witness has failed, for years, to

   file a tax return is a matter which affects the witness's credibility.”).



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          Federal Rule of Evidence 608(b) prohibits the use of extrinsic evidence to “prove specific

   instances of a witness's conduct in order to attack or support the witness's character for

   truthfulness.” A court, however, “may, on cross-examination, allow them to be inquired into if

   they are probative of the [witness’s] character for truthfulness or untruthfulness.” Id. Questioning

   Plaintiff on her filing of income taxes is irrelevant to the case at hand and will unfairly prejudice

   Plaintiff. As stated by this District previously:

                  ... the undersigned concludes that Defendants shall be precluded
                  from suggesting that Plaintiffs failed to pay income taxes because
                  such evidence will likely create undue prejudice in the minds of
                  the jurors: and it will likely give rise to collateral disputes --
                  including the extent of Plaintiffs' reporting obligations regarding
                  such taxes -- that will cause undue delay and confusion of the
                  issues. Thus, Plaintiffs' motion in limine to preclude Defendants
                  from introducing evidence that Plaintiffs failed to pay income
                  taxes is GRANTED.

   Ortiz v. Santuli Corp., 2009 U.S. Dist. LEXIS 7273 l (S.D. Fla. Aug. 3. 2009). In addition to

   evidence Defendants may try to introduce arguing that Plaintiff failed to report (or fully and

   accurately report) all of their income in relation to taxes, Plaintiff requests that Defendants not be

   able to question Plaintiff at all regarding her taxes as such would be prejudicial before the jury

   and cause unnecessary confusion, and would not otherwise be relevant. Plaintiff’s private

   financial life is not relevant to Plaintiff’s claims and is otherwise protected by Section 23 of

   Article I of the Florida Constitution. See Berlinger v. Wells Fargo, N.A., 2014 WL 6686276, at

   *3 (M.D. Fla. 2014) (under Florida law, a party’s personal financial information is entitled to

   heightened protection in litigation proceedings). In Berlinger, the Court stated:

                  [P]ersonal finances are among those private matters kept
                  secret by most people. Woodward v. Berkery, 714 So.2d
                  1027, 1035 (Fla. 4th DCA 1998) (citing Winfield v. Div. of
                  Pari–Mutuel Wagering, 477 So.2d 544 (Fla.1985)).




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   The right of privacy set forth in article 1, section 23, of the Florida Constitution undoubtedly

   expresses a policy that compelled disclosure through discovery be limited to that which is

   necessary for a court to determine contested issues. Id. at 1036. It follows that the disclosure of

   personal financial information may cause irreparable harm to a person forced to disclose it, in a

   case in which the information is not relevant. Straub v. Matte, 805 So.2d 99, 100 (Fla. 4th DCA

   2002). Id. citing Rappaport v. Mercantile Bank, 17 So. 3d 902, 906 (Fla. 2d DCA 2009) (quotes

   omitted). Also, as the Court noted in Daniel Valderrabano Torres v. Rock & River Food Inc.

   d/b/a Marumi Sushi, et al., Case No. 15-22882-RNS [DE73], “employers also have the

   responsibility to withhold taxes and pay social security. Permitting questioning on the Plaintiff’s

   income taxes could quickly devolve into issues of the Plaintiff’s obligation to pay taxes versus

   the Defendants’, who was the most at fault, as well as why the Plaintiff failed to pay taxes…”

   Defendants’ should not be entitled to embark on a mini-IRS audit of Plaintiff’s payment or non-

   payment of federal income taxes and reporting of cash payments on said taxes should be

   excluded under Rule 403 of the Federal Rules of Evidence as its probative value is substantially

   outweighed by the danger of unfair prejudice and confusion of the issues. Defendants object to

   this request.

          Wherefore, Plaintiff respectfully request that the Court grant Plaintiff’s Motion in Limine

   and exclude reference to Plaintiff’s payment or non-payment of federal income taxes and

   reporting of cash payments on said taxes.

          E. Reference to Plaintiff’s Arrests, Convictions, Pleas of No Lo Contendere, Pending
             Criminal Cases, If Any.

          Any reference to Plaintiff’s arrests, convictions, pleas of no lo contendere, and pending

   criminal cases, if any, should be excluded from testimony in this case. Rule 609 allows the use of

   a criminal conviction for impeachment purposes, if the conviction was punishable by

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   imprisonment for more than one year. However, convictions after more than ten years have

   passed are not admissible, unless its probative value substantially outweighs prejudicial effect,

   and the proponent gives the adverse party written notice of the intent to use it so that the party

   has the opportunity to contest it. The court enjoys wide latitude in exercising its discretion in this

   area, see United States v. Abel, 469 U.S. 45, 54, 105 S.Ct. 465, 470, 83 L.Ed.2d 450 (1984). In

   this jurisdiction, there is a presumption against the use of criminal convictions older than ten

   years old. Such convictions are rarely permitted to be admitted, unless there are exceptional

   circumstances. United States v. Pritchard, 973 F.2d 905, 908 (11th Cir. 1992) (“the danger in

   admitting stale convictions is that their remoteness limits their probative value”). No exceptional

   circumstances are evident here. Plaintiff’s arrests, convictions, pleas of no lo contendere, and

   pending criminal cases, if any, are wholly unrelated to any claim or defense raised here.

          Moreover, Rules 401 and 402 of the Federal Rules of Evidence govern the admissibility

   of relevant evidence. In particular, only relevant evidence is admissible at trial. Fed. R. Evid.

   402; Allen v. County of Montgomery, Ala., 788 F.2d 1485, 1488 (11th Cir. 1986). Rule 401

   defines “relevant evidence” as “evidence having any tendency to make the existence of any fact

   that is of consequence to the determination of the action more probable or less probable than it

   would be without the Evidence.” Fed. R. Evid. 401. Any prior arrests, convictions, and pleas of

   no lo contendere, if any, would involve different facts and circumstances that are not probative

   of any fact or issue present in this instant case. Moreover, the admissibility of prior arrests,

   convictions, pleas of no lo contendere, and pending criminal cases, if any, into evidence is

   analyzed under Federal Rule of Evidence 404(b), which addresses impermissible character

   evidence in the form of past acts. See Lanham v. Whitfield, 805 F.2d 970, 972 (11th Cir. 1986)

   (upholding preclusion of prior litigation under Rule 404(b)); see also Outley v. City of New York,



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   837 F.2d 587, 592 (2d Cir. 1988); McDonough v. City of Quincy, 452 F.3d 8, 20 (1st Cir. 2006).

   Rule 404(b) specifically prohibits the introduction of past acts to prove the character of a person

   so as to show that the plaintiff acted in conformity therewith. Fed. R. Evid. 404(b); United States

   v. Covington, 565 F.3d 1336, 1341 (11th Cir. 2009) (“Rule 404(b) prohibits the introduction of

   pure propensity evidence.”). Rule 404(b) is predicated on the assumption that such propensity

   evidence is inherently of small probative value while also being highly prejudicial. See Coletti v

   Cudd Pressure Control, 165 F. Case 1:12-cv-24358-JLK Document 74 Entered on FLSD Docket

   12/16/2013 Page 3 of 7 4 3d 767, 776 (10th Cir. 1999) (citing Reyes v. Missouri Pac. R. Co., 589

   F.2d 791, 793 (5th Cir.1979).

          In the instant case, any attempt to introduce evidence relating to arrests, convictions,

   pleas of no lo contendere, and pending criminal cases, if any, would be an impermissible attempt

   to question Plaintiff’s character in the form of propensity evidence. Indeed, there is no reason for

   Defendants to seek admission of prior arrests, convictions, pleas of no lo contendere, pending

   criminal cases, if any, as this is exactly the kind of propensity evidence precluded by Rule

   404(b); see Covington, 565 F.3d at 1341. Regardless, even if evidence of Plaintiff’s prior arrests,

   convictions, pleas of no lo contendere, pending criminal cases, if any, were found to have some

   minimal probative value, such evidence would still be inadmissible under Rule 403, which

   states: “although relevant, evidence may be excluded if its probative value is substantially

   outweighed by the danger of unfair prejudice, confusion of issues, or misleading the jury, or by

   considerations of undue delay, waste of time, or needless presentation of cumulative evidence.”

   Fed. R. Evid. 403; See Palmer v. Bd. of Regents of Univ. System Of Ga., 208 F. 3d 969 (11th Cir.

   2000); United States v. Gray, 730 F.2d at 735; Williams v. Asplundh Tree Expert Co., 2006 WL

   2868923 (M.D. Fla. 2006) (holding that evidence of prior litigation to prove knowledge by the



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   Defendants is inadmissible pursuant to Federal Rule of Evidence 403). Plaintiff’s prior arrests,

   convictions, pleas of no lo contendere, and pending criminal cases, if any, would not be relevant

   and seeks only to confuse the jury; or worse, unfairly prejudice the jury against Plaintiff.

           Referencing investigations or lawsuits that have not been completed would unfairly

   prejudice the jury against Plaintiff and should therefore be excluded pursuant to Rule 403 of the

   Federal Rules of Evidence as its probative value is substantially outweighed by the danger of

   unfair prejudice and confusion of the issues that it would create in this FLSA matter. Fed R.

   Evid. 609(a) authorizes the admission into evidence, subject to the provisions Fed R. Evid. 403,

   evidence of a conviction of a felony or a conviction of a crime, regardless of how punishable, if

   the conviction required proof or admission of an act of dishonesty or false statement by the

   witness. Plaintiff has not been charged and, as such, has not ultimately resulted in a conviction

   and cannot be used pursuant to rule 609. Defendants object to this request.

           Wherefore, Plaintiff respectfully requests that the Court grant Plaintiff’s Motion in

   Limine and exclude any reference to Plaintiff’s arrests, convictions, pleas of no lo contendere,

   and pending criminal cases, if any, at trial.

           WHEREFORE PLAINTIFF RESPECTFULLY REQUESTS THE COURT EXCLUDE

   IN LIMINE AT TRIAL ALL OF THE EVIDENCE SET FORTH HEREIN-ABOVE.

                                  CERTIFICATE OF CONFERRAL

           Defendant Hanin Prieto objects to the issues that are the subject of the instant Motion,

   however, Defendant Hanin Prieto may agree to some of these issues at a later time as Defense

   Counsel recently entered into the case as pro bono counsel for Hanin Prieto and was not

   prepared to make an exact determination given Defense Counsel’s limited knowledge of the

   case.



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                                Respectfully submitted,

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                     BY:___/s/___Natalie Staroschak______________
                           NATALIE STAROSCHAK, ESQ.


                            CERTIFICATE OF SERVICE

    I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
           WAS PROVIDED VIA CM/ECF ON 5/6/19 TO THE FOLLOWING:

                            ALL CM/ECF REGISTRANTS

                          MARK SCHWEIKERTO, ESQ.
                               SCHWIKERT LAW
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                     BY:___/s/___Natalie Staroschak______________
                           NATALIE STAROSCHAK, ESQ.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 17-20608-CIV-JAL

   ARWIN NICOLAS ZAPATA CARRERO and )
   all others similarly situated under 29 U.S.C. )
   216(b),                                       )
                                                 )
                     Plaintiffs,                 )
           vs.                                   )
                                                 )
   SANABI INVESTMENTS LLC d/b/a                  )
   OSCAR’S MOVING & STORAGE,                     )
   SAADY BIJANI a/k/a SANDY BIJANI,              )
   HANIN PRIETO,                                 )
                                                 )
                    Defendants.                  )
   _____________________________________ )

             ORDER GRANTING PLAINTIFF’S OMNIBUS MOTION IN LIMINE

          This matter came on to be heard regarding the Plaintiff’s above-described Motion and the

   Court otherwise being advised in the premises, it is:

          ORDERED, ADJUDGED and DECREED that the Plaintiff’s Motion is hereby

   GRANTED and therefore the Parties shall not during trial introduce any evidence regarding:

                  a) Reference to attorneys’ fees and costs;

                  b) Reference to liquidated damages;

                  c) Reference to the undersigned Firm’s representation of Plaintiff;

                  d) Any reference to Plaintiff's payment or non-payment of federal income taxes

                      and reporting of cash payments on said taxes;

                  e) Reference to Plaintiff’s arrests, convictions, pleas of no lo contendere, and

                      pending criminal cases, if any.

          DONE AND ORDERED in Chambers at Miami, Florida, this _____ day of



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   ___________________ 2019.

                                      ____________________________________
                                      JOAN A. LENARD
                                      UNITED STATES DISTRICT JUDGE
   Copies to: Counsel of Record




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